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                                     September 10, 2024

Lyle W. Cayce, Clerk of Court
United States Court of Appeals for the Fifth Circuit
600 S. Maestri Place, Suite 115
New Orleans, LA 70130

RE:    Jarkesy v. SEC, No. 20-61007, on remand from U.S. Supreme Court
       Response Regarding “Further Proceedings” and Whether to Remand

I.     Nothing Should Be “Remanded” to the SEC
       This Court’s review jurisdiction was invoked exclusively pursuant to special
jurisdictional review statutes found in the securities acts, 15 U.S.C. §§ 78y(a)(1),
77i(a), and 80b-13(a) (collectively “§ 78y”).1 Unlike other appellate review statutes
or review provisions in the Administrative Procedure Act, these unique SEC final-
order review statutes do not vest a reviewing circuit court with jurisdiction to
“remand.”2
       When it enacted § 78y ninety years ago, Congress chose to expressly cast the
available remedies for this special review as a matter of the circuit courts’
jurisdiction, not as a mere procedural rule. Those remedies are limited to (1)
affirmance, (2) modification or (3) setting aside of the Commission’s final order.
Period. This grant of remedial jurisdiction is found in subsection (a)(3):
       On the filing of the petition, the court has jurisdiction, which becomes
       exclusive on the filing of the record, to affirm or modify and enforce or
       to set aside the order in whole or in part.
       The ordinary authority of a circuit court to remand a case is a creature of
statute, not an implied or inherent power. This is especially so where the remedial

1
  See Petition for Review, Doc. 00515623265 (Nov. 2, 2020) at 1. All of these SEC adjudication
special review statutes contain nearly identical wording and prescribe in verbatim language the
same jurisdictional list of available remedies on review.
2
   This Court’s remand order was the sole subject of a conditional cross-petition for writ of
certiorari filed by Petitioners in the Supreme Court, docketed as Jarkesy, et al., v. Securities and
Exchange Commission, No. 22-991, writ denied, 143 S.Ct. 2690 (June 30, 2023).
power is cast in jurisdictional terms. The jurisdiction Congress confers on the federal
courts may not “be expanded by judicial decree.” Rotkiske v. Klemm, 140 S. Ct.
355, 360–61 (2019) (“absent [statutory] provision[s] cannot be supplied by the
courts”); Kokkonen v. Guardian Life Ins. Co. of America, 511 U.S. 375, 377 (1994).
      In stark contrast to § 78y, Congress has defined the circuit courts’ “regular”
appellate power—for appeals from district courts—far more broadly. 28 U.S.C. §
2106 provides that circuit courts:
        may affirm, modify, vacate, set aside or reverse any judgment, decree,
        or order of a court lawfully brought before it for review, and may
        remand the cause…or require such further proceedings to be had as
        may be just under the circumstances.3
No such “remand” language is found in § 78y.
       The lack of jurisdiction to remand under § 78y is also commanded by the basic
tenets of statutory construction. First, the language of the statute is clear. See Rubin
v. United States, 449 U.S. 424, 430 (1981) (“judicial inquiry is complete” when the
“terms of a statute [are] unambiguous”). Second, the venerable “Surplusage Canon”
dictates the same result: another subsection of § 78y, (a)(5), expressly provides that
the circuit court can remand, but solely for the purpose of adducing additional
evidence material to the circuit court’s review, and only upon motion of one of the
parties, a jurisdictional grant not applicable here and one that would be rendered
wholly superfluous if (a)(3) already permitted remand generally. See Obduskey v.
McCarthy & Holthus LLP, 139 S. Ct. 1029, 1037 (2019) (where it applies, the
surplusage canon creates “insurmountable obstacle” to a contrary interpretation).
       Finally, even under the “remand rule” of the inapplicable APA,4 remand is not
to be ordered where it would be “futile,”5 serving no purpose. In this case, the Court
has rendered the whole SEC administrative proceeding void ab initio, and thus there
is nothing in existence left to remand. In a special review under § 78y, the reviewing
circuit court gets the last word, not the losing party.

3
    Emphasis supplied. The Supreme Court has long recognized that its own general remand
authority flows from the express grant of that power in § 2106. See, e.g., Wood v. Georgia, 450
U.S. 261, 266 n.5 (1981) (citing § 2106 in ordering remand).
4
    When it applies, § 78y is the exclusive procedure for review. See 5 U.S.C. § 703.
5
  See, e.g., City of Yonkers v. United States, 320 U.S. 685, 692 (1944) (no remand because Court
concluded that the agency had no jurisdiction to take any action). See also, Northern Pipeline
Constr. Co. v. Marathon Pipeline Co., 458 U.S. 50, 88 (1982) (no remand to Art. I bankruptcy
court after deciding the grant of jurisdiction outside of Art. III was unconstitutional).

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II.    The Court Should Vacate for the Take Care Clause Violation
       This Court correctly held that the multiple layers of tenure protection afforded
the SEC’s ALJs ran afoul of the Take Care Clause, a holding left undisturbed by the
Supreme Court. This Court declined to impose one of the three remedies dictated
by § 78y, however, having already elected to vacate the Commission’s final order
for the Seventh Amendment violation. 34 F.4th 446, 465-66.
       But by not imposing a remedy, the Court effectively rendered an advisory
opinion on this issue, along with a “remand without vacatur”—a disposition reserved
for certain APA reviews but not sanctioned by the spartan jurisdictional grant in §
78y. Moreover, an adjudicator sitting in violation of the Take Care Clause is a
“structural” constitutional error, just like an ALJ sitting in violation of the
Appointments Clause, as in Lucia v. SEC, 138 S.Ct. 2044, 2055 (2018). See Ryder
v. United States, 515 U.S. 177, 182-83 (1995) (reversing court martial where military
judges sat in violation of Appointments Clause, eschewing harmful error analysis);
Stern v. Marshall, 564 U.S. at 503 (affirming the vacating of bankruptcy judge
actions where the judge presided in violation of the requirements of Article III).
      Because “the effects of [structural] error are simply too hard to measure,”
Weaver v. Massachusetts, 582 U.S. 286, 295 (2017), the underlying proceedings
must be vacated, and harmful error analysis does not apply. Id. This is so whether or
not a court seeks to surgically remove an offending part of a statutory scheme—a
measure not available in the case of the scheme here, 5 U.S.C. § 7521.6
III.   The Court Should Order Detailed Briefing on These Critical Issues
       As the Court’s August 27, 2024, letter recognizes, the Supreme Court invited
this Court to conduct any “further proceedings” deemed appropriate on remand.
That Court did not expressly or impliedly rule on the remedies applied by this Court,
only affirming this Court’s holding that the Seventh Amendment precluded the
administrative proceedings in the agency. The issues addressed above are important,
recurring and require detailed briefing and argument beyond the limited briefing
permitted in a three-page letter. Petitioners therefore suggest that the Court, under
its “further proceedings” authority, order the filing of full briefs on these issues and,
at the Court’s discretion, set the matter for oral argument on the Court’s upcoming
calendar, prior to issuing its mandate.

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   Depriving a victimized litigant like Jarkesy of any relief would obviously disincentivize all future
litigants from ever raising and exposing separation of powers violations, and would perversely
incentivize agencies to continue to utilize unconstitutionally sitting ALJ’s since there would be
absolutely no penalty for doing so.

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                                       Respectfully submitted,

                                        /s/ S. Michael McColloch
                                       _____________________________
                                       S. MICHAEL McCOLLOCH
                                       Attorney for Petitioners




                         CERTIFICATE OF SERVICE

I certify that on September 10, 2024, I electronically filed the foregoing with the
Clerk of the United States Court of Appeals for the Fifth Circuit by using the
appellate CM/ECF system, which will serve all counsel of record.

                                        /s/ Karen Cook
                                       _____________________________
                                       Karen Cook




                      CERTIFICATE OF COMPLIANCE

I certify that this letter complies with the page limitations imposed by the Court’s
letter of August 27, 2024, because the body of the letter does not exceed three pages.

                                        /s/ Karen Cook
                                       _____________________________
                                       Karen Cook




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